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                               UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF PENNSYLVANIA

_________________________________________

JAY GRISCOM, et al.,                                         :
                   Plaintiffs,                               :
                                                             :
                 v.                                          :       No. 5:17-cv-5541
                                                             :
GREENBRIAR MARKETING &                                       :
MANAGEMENT, INC., et al.,                                    :
                  Defendants.                                :
_________________________________________

                                      DEFAULT NOTICE
                              10 Day Notice – Failure of Defendant to
                        Answer or Otherwise Respond to Plaintiffs’ Complaint


TO:     All Parties

        A review of the Court’s records indicates that Defendant, Lawrence Higgins, has failed to
timely respond to the Complaint. 1

        If Plaintiffs fail to take action to have a default entered against Defendant, Lawrence
Higgins, pursuant to Federal Rule of Civil Procedure 55(a) within ten (10) days of the date of
this Notice, the Court may enter an Order dismissing the Complaint against said Defendant for
lack of prosecution.


                                                             KATE BARKMAN, Clerk of Court



                                                             By:/s/ Diane J. Abeles________________
                                                                Diane J. Abeles, Civil Deputy Clerk
                                                                The Honorable Joseph F. Leeson, Jr.
                                                                Diane_J_Abeles@paed.uscourts.gov
Date of Notice: March 16, 2018


1
 This Default Notice does not express any opinion on whether service was properly effected pursuant to Federal
Rule of Civil Procedure 4.
